     Case 1:04-cr-00323-JKB     Document 469    Filed 04/09/08       Page 1 of 7



                 IN THE UNITED STATES DISTRICT COURT FOR
               THE DISTRICT OF MARYLAND, NORTHERN DIVISION

                                    *
RAESHIO RICE,
                                    *
     Petitioner,
                                    *
           v.                               CRIMINAL NO.:        WDQ-04-0323
                                    *       CIVIL NO.:           WDQ-07-3312
UNITED STATES OF AMERICA,
                                    *
     Respondent.
                                    *

*    *     *       *    *      *    *       *    *      *        *       *     *

                              MEMORANDUM OPINION

     Pending is Raeshio Rice’s pro se motion to vacate, set

aside, or correct his sentence pursuant to 28 U.S.C. § 2255 and

motion for leave to file a reply to the Government’s response.

For the following reasons, Rice’s § 2255 motion will be denied,

and his motion for leave to file a reply will be granted.

I.   Background

     On February 19, 2004, a one-count indictment charged Rice

and his brother, Howard Rice, with conspiracy to distribute

heroin between the Fall of 2003 and February 2004.                   On April 19,

2004, a reverse proffer was held.           At the meeting, the Government

provided Rice with information about the evidence against him and

presented its view of the sentence Rice could receive under the

applicable statute and sentencing guidelines.1              Rice accepted the


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       The Government presented Rice with four options: (1) if he
proceeded to trial, it would seek an enhancement under 21 U.S.C.

                                        1
    Case 1:04-cr-00323-JKB   Document 469   Filed 04/09/08   Page 2 of 7



offer for a plea without cooperation before the May 3 deadline,2

and on June 4, 2004, Rice pled guilty to conspiracy to distribute

heroin.   On January 26, 2005, Rice was sentenced to 147 months

imprisonment.

     On February 1, 2005, Rice and several other defendants were

indicted on charges of racketeering and racketeering conspiracy,

conspiracy to distribute cocaine, possession of firearms by a

convicted felon, and several acts of violence (the “RICO

Indictment”).   Between April 2005 and March 2006, extensive


§ 851, and he would face a statutory mandatory minimum of 20
years imprisonment; at sentencing, it would seek a base offense
level of 38 based on at least 30 kilograms of heroin, plus four
leadership points, for an adjusted offense level of 42, which
would result in a guidelines ranges of 360 months to life
imprisonment; (2) if he pled after May 3 without cooperation, it
would seek a base offense level of 38 based on at least 30
kilograms of heroin, plus a four level upward adjustment for his
leadership role, for an adjusted offense level of 42, but it
would seek a two level downward adjustment for acceptance of
responsibility, which would result in an offense level of 40 and
a guidelines range of 360 months to life imprisonment; (3) if he
pled before May 3 without cooperation, it would stipulate that
the amount of heroin involved in the conspiracy was 10-30
kilograms and move for a third level downward adjustment for
acceptance of responsibility which would result in a guidelines
range of 168-210 months imprisonment; or (4) if he cooperated
with the Government, an adjusted offense level of 33 would
result, and it would recommend up to a four-level downward
departure for cooperation, which would result in the 10-year
mandatory minimum not applying and a guidelines range of 108-135
months imprisonment. See Gov’t Mem. at 7-8.
     2
       On May 14, 2004, the parties agreed to a revised plea
agreement that stipulated that the based offense level was 34,
based on 3-10 kilograms of heroin and stated that the plea did
not limit Rice’s exposure to future charges based on the
Government’s ongoing investigation. See Jason Weinstein Aff.
AUSA ¶ 28; Steve Levin Aff. AUSA ¶¶ 8, 9.

                                    2
     Case 1:04-cr-00323-JKB   Document 469     Filed 04/09/08   Page 3 of 7



discovery was provided to Rice and the other Defendants,

including wiretap recordings, warrants, affidavits and telephone

records.   In December 2005, Rice’s attorneys, Carroll McCabe and

Julie Johnson, and Howard Rices’s attorney, William Purpura, met

with the Government to discuss the case.           At the meeting, Purpura

advised that defense counsel were prepared to file a motion to

dismiss and explained that the motion would allege that Assistant

U.S. Attorney (“AUSA”) Steven Levin and Jason M. Weinstein had

violated their duty of candor with the Court during Raeshio

Rice’s sentencing proceeding in January 2005.3            Defense counsel

offered to forego filing the motion, if the Government provided

the Rice brothers with a favorable plea agreement that would

include dismissal of the capital charges in the RICO Indictment.

Levin and Weinstein declined the offer.

     On January 25, 2006, Rice filed the motion to dismiss the

indictment and enforce the plea agreements.            Paper No. 249.

After a hearing on the motion at which Rice testified, this Court

denied the motion.4    Paper No. 370.        Subsequently, Rice entered a

plea agreement under which the adjusted offense level would be 36



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       The motion was predicated on counsel’s belief that the
Government had violated the terms of Rice’s original plea
agreement in the heroin indictment when it revised the plea
agreement to include a waiver of immunity for future charges--the
waiver was not in the originally proffered plea agreement.
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       The Court did, however, permit Rice to withdraw his June
4, 2004 guilty plea.

                                     3
      Case 1:04-cr-00323-JKB   Document 469   Filed 04/09/08    Page 4 of 7



and his criminal history would be at category VI because he was a

career offender.     On January 8, 2007, Rice was sentenced to 324

months imprisonment.

II.   Motion to Vacate, Set Aside, or Correct Sentence

      Rice contends that he received ineffective assistance of

counsel during negotiation of his plea agreement in the RICO

indictment.     Rice claims that counsel’s decision to use a motion

to dismiss as leverage during plea negotiations was unreasonable

and rendered him ineligible for receiving an additional one level

downward adjustment for acceptance of responsibility under USSG §

3E1.1(b),5 which would have reduced his sentence.              Rice argues

that counsel confronted Levin and Weinstein with the motion to

dismiss, despite his communicated desire that a plea agreement be

sought at the onset of the criminal proceedings.               Rice asserts

that there is a reasonable probability that the Court would have

sentenced him to the lower end of the guideline range 292 months,

if counsel had not filed the motion to dismiss.



      5
          USSG § 3E1.1(b) states:

     If the defendant qualifies for a decrease under subsection
(a), the offense level determined prior to the operation of
subsection (a) is level 16 or greater, and upon motion of the
government stating that the defendant has assisted authorities in
the investigation or prosecution of his own misconduct by timely
notifying authorities of his intention to enter a plea of guilty,
thereby permitting the government to avoid preparing for trial
and permitting the government and the court to allocate their
resources efficiently, decrease the offense level by 1 additional
level.

                                      4
    Case 1:04-cr-00323-JKB   Document 469   Filed 04/09/08   Page 5 of 7



     The Government counters that Rice’s complaint involves a

disagreement about the tactical decision made by counsel, and

that Rice’s counsel thoroughly evaluated the benefits of using

the arguments during the plea negotiations.         The Government

argues that even if counsel’s conduct fell below the standard of

competence, Rice cannot prove that he would have received a

lesser sentence if the motion to dismiss was not filed.             The

Government stresses that even if Rice had received an additional

level acceptance of responsibility adjustment, he still could

have received the same sentence because his guidelines range

would have been 292-365 months.

     The Sixth Amendment guarantees the effective assistance of

counsel.   Strickland v. Washington, 466 U.S. 668, 686 (1984).

There is “a strong presumption that counsel’s conduct falls

within the wide range of reasonable professional assistance.”

Id. at 689.   To prove ineffective assistance of counsel, Rice

must show that counsel’s performance was deficient.           Id. at 687.

This requires a showing that “counsel’s representation fell below

an objective standard of reasonableness.”        Id. at 688.      Rice must

also demonstrate a “reasonable probability that, but for

counsel’s unprofessional errors, the result of the proceeding

would have been different.”     Id. at 694.     Only if deficient

performance and prejudice are established can it be concluded

that counsel’s assistance was defective.        Id. at 687.      If the


                                    5
    Case 1:04-cr-00323-JKB    Document 469   Filed 04/09/08    Page 6 of 7



defendant cannot prove prejudice, “a reviewing court need not

consider the performance prong.”         Fields v. Attorney General, 956

F.2d 1290, 1297 (4th Cir. 1992) (citing Strickland, 466 U.S. at

697).

        Counsel’s decision to use the motion to dismiss as leverage

during the plea negotiations did not render his performance

unreasonable.    Although counsel’s tactical decision did not

result in a more favorable plea agreement, it was well within the

range of professional reasonable judgment.          Rice’s counsel

evaluated the potential benefits and disadvantages of filing the

motion to dismiss and discussed them with Rice--who did not

forbid it.    That counsel’s strategy proved unsuccessful is not a

basis for Rice to challenge his counsel’s conduct.

        Even if counsel’s performance was deficient, Rice has not

demonstrated that he was prejudiced as a result.              Rice’s sentence

range was 324-405 months imprisonment.        If Rice had been afforded

the additional one level adjustment under USSG § 3E1.1(b), his

sentence range would have been 292-365 months imprisonment.

Rice’s ultimate sentence of 324 months imprisonment is within

both guideline ranges.       Because Rice has failed to prove that his

counsel’s performance was deficient or that it had an adverse

effect on his sentence, his ineffective assistance claim fails.




                                     6
     Case 1:04-cr-00323-JKB   Document 469   Filed 04/09/08   Page 7 of 7



III. Conclusion

     For the above stated reasons, Rice’s § 2255 motion will be

denied, and his motion for leave to file a reply will be

granted.6

April 9, 2008                                    /s/
Date                                     William D. Quarles, Jr.
                                         United States District Judge




     6
       Rice’s reply was due on February 25, 2008, but it was not
filed until March 3, 2008. Paper No. 464. As the Government
does not oppose Rice’s untimely filing and there appears to be no
prejudice, the motion will be granted.

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